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                                IN THE UNITED STATES DISTRICT COURT
                                    FOR THE DISTRICT OF COLORADO
                                Magistrate Judge Maritza Dominguez Braswell

   Civil Action No: 22-cv-01640-CNS-MDB                                      Date: September 20, 2022
   Courtroom Deputy: E. Lopez Vaughan                                        FTR: Courtroom 101

    Parties:                                                                 Counsel:

    Daniel P. Richards,                                                      Pro se

         Plaintiff,

    v.

    Lockheed Martin Corporation,

         Defendant.


                                             COURTROOM MINUTES


   TELEPHONIC STATUS CONFERENCE

   10:04 a.m.         Court in session.

   Court calls case. Plaintiff appears pro se. No appearance by or on behalf of Defendant. Court
   advises Plaintiff that this case cannot move forward at this time since, to date, no summons has
   been issued for service on Defendant. Plaintiff indicates that he just recently retained counsel and
   requests additional time to serve Defendant with a summons. The Court sets a deadline of
   November 15, 2022.

   10:08 a.m.         Court in recess.

   Hearing concluded.
   Total in-court time 00:04
   *To order transcripts of hearings, please contact Patterson Transcription Company at (303) 755-4536 or AB Litigation
   Services at (303) 629-8534.
